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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   NEWARK DIVISION


IN RE: REQUEST FOR JUDICIAL                          CASE NO.
ASSISTANCE FROM THE COURT OF
FIRST INSTANCE IN GENEVA,
SWITZERLAND IN THE MATTER OF
CHARLOTTE BOUVIER D’YVOIRE V.
OLIVER BOUVIER D’YVOIRE
                                             /


    GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT OF APPLICATION
              FOR ORDER PURSUANT TO 28 U.S.C. § 1782(a)

       The United States of America, by and through counsel, submits this Memorandum of

Law in support of the Application for Order, 1 pursuant to 28 U.S.C. § 1782(a), to execute a

Letter of Request from judicial authorities in Geneva, Switzerland for international judicial

assistance to obtain bank records from (1) E*Trade and (2) UBS (“witnesses”).

                                       INTRODUCTION

       The request for international judicial assistance comes from the Court of First Instance in

Geneva, Switzerland (“Swiss Court”). Specifically, the Swiss Court issued a Letter of Request


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  Gushlak v. Gushlak, 486 F. App’x 215, 217 (2d Cir. 2012) (“It is neither uncommon nor
improper for district courts to grant applications made pursuant to § 1782 ex parte. The
respondent’s due process rights are not violated because he can later challenge any discovery
request by moving to quash pursuant to Federal Rule of Civil Procedure 45[(d)](3).”). See also In
re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th Cir. 1976)
(“Letters Rogatory are customarily received and appropriate action taken with respect thereto ex
parte. The witnesses can and have raised objections and exercised their due process rights by
motions to quash the subpoenas.”); In re Letter of Request from Supreme Ct. of Hong Kong, 138
F.R.D. 27, 32 n.6 (S.D.N.Y. 1991); In re Application of Masters for an Order Pursuant to 28
U.S.C. § 1782 to Conduct Discovery for Use in a Foreign Proceeding, 315 F. Supp. 3d 269, 272
(D.D.C. 2018); In re Anglin, No. 7:09cv5011, 2009 WL 4739481, at *1-2 (D. Neb. Dec. 4,
2009). Note, even though these applications are generally filed ex parte, they do not need to be
filed under seal. See, e.g. Order denying Motion to Seal U.S.’s Application for Ex Parte Order
Appointing Commissioner Pursuant to 28 U.S.C. § 1782, In re Mutual Assistance of Local Court
of Wetzlar, Germany, 1:17-mc-00078-SKO, 2018 WL 306678, at *3 (E.D. Cal. Jan. 5, 2018).
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seeking assistance to obtain bank records for use in Charlotte Bouvier D'Yvoire v. Oliver Bouvier

D'Yvoire, Foreign Reference Number C/29866/2017. See Declaration of Senior Trial Counsel

Katerina Ossenova, Ex. A [hereinafter Ossenova Decl.] (Letter of Request received by the Office

of International Judicial Assistance on May 2, 2022).

       The facts of this case, as stated in the Letter of Request, indicate that this is a civil

proceeding in which the Swiss Court is adjudicating a divorce and the division of assets of the

parties. In order to make its determination, the Court is requesting information regarding Olivier

Bouvier D’Yvoire’s assets held at (1) E*Trade and (2) UBS.

       The Swiss Court’s request was transmitted to the U.S. Department of Justice, Civil

Division, Office of Foreign Litigation, Office of International Judicial Assistance in Washington,

D.C. pursuant to the Hague Convention on the Taking of Evidence Abroad in Civil or

Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 12140 [hereinafter HCCH

1970 Evidence Convention]. In order to execute this request for international judicial assistance,

authority must be obtained from this Court. 28 U.S.C. § 1782(a).

                                           ARGUMENT

       I.      THE HCCH 1970 EVIDENCE CONVENTION

       The HCCH 1970 Evidence Convention affords each signatory nation the use of the

judicial process of other signatory nations, where such assistance is needed in civil or

commercial matters, “to facilitate the transmission and execution of Letters of Request and to

further the accommodation of the different methods which they use for this purpose.” HCCH

1970 Evidence Convention pmbl. The HCCH 1970 Evidence Convention “prescribes certain

procedures by which a judicial authority in one contracting state may request evidence located in

another contracting state.” Société Nationale Industrielle Aérospatiale v. U.S. Dist. Court for the



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S. Dist. of Iowa, 482 U.S. 522, 524 (1987). The HCCH 1970 Evidence Convention is in force in

both the United States and Argentina. Hague Conference on Private International Law, Status

Table for the Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or

Commercial Matters, available at https://www.hcch.net/en/instruments/conventions/status-

table/?cid=82 (last visited May 26, 2022) (The HCCH 1970 Evidence Convention entered into

force in Switzerland on January 1, 1995).

       Article 10 of the HCCH 1970 Evidence Convention provides that:

       In executing a Letter of Request the requested authority shall apply the appropriate
       measures of compulsion in the instances and to the same extent as are provided by its
       internal law for the execution of orders issued by the authorities of its own country or of
       requests made by parties in internal proceedings.

       HCCH 1970 Evidence Convention, art. 10. Furthermore, Article 9 of the HCCH 1970

Evidence Convention provides, in pertinent part, that: “the judicial authority which executes a

Letter of Request shall apply its own law as to the methods and procedures to be followed, and

that a ‘Letter of Request shall be executed expeditiously.’” Id. at art. 9.

       Under Article VI of the United States Constitution, treaties, such as the HCCH 1970

Evidence Convention, are the law of the land, on an equal footing with acts of Congress, and are

binding on the courts. See Bell v. Clark, 437 F.2d 200, 203 (4th Cir. 1971). See also Gandara v.

Bennett, 528 F.3d 823, 830 (11th Cir. 2008) (stating that self-executing treaties are “immediately

and directly binding on state and federal courts pursuant to the Supremacy Clause”) (Rodgers, J.,

concurring) (quoting Medellin v. Texas, 552 U.S. 491, 510 (2008)); Bishop v. Reno, 210 F.3d 1295,

1299 (11th Cir. 2000) (concluding that “an Act of Congress” is on “full parity with a treaty”)

(quoting Reid v. Covert, 354 U.S. 1, 18 (2000).




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       II.     STATUTORY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING
               THE UNITED STATES’ APPLICATION

       The authority for this Court to assist foreign tribunals in obtaining documents is

contained in 28 U.S.C. § 1782. This section states, in pertinent part:

               Assistance to foreign and international tribunals and to litigants
               before such tribunals

               (a) The district court of the district in which a person resides or is
                   found may order him to give his testimony or statement or to
                   produce a document or other thing for use in a proceeding in a
                   foreign or international tribunal,…. The order may be made
                   pursuant to a … request made, by a foreign or international
                   tribunal … and may direct that … the document … be produced,
                   before a person appointed by the court. By virtue of his
                   appointment, the person appointed has power to administer any
                   necessary oath and take the testimony or statement. The order
                   may prescribe the practice and procedure, which may be in
                   whole or part the practice and procedure of the foreign country
                   or the international tribunal, for … producing the document ….
                   To the extent that the order does not prescribe otherwise, the
                   testimony or statement shall be taken, and the document or other
                   thing produced, in accordance with the Federal Rules of Civil
                   Procedure.

28 U.S.C. § 1782(a). See also Aerospatiale, 482 U.S. at 529 (providing a brief history of the

HCCH 1970 Evidence Convention). Section 1782 “is the product of congressional efforts, over

the span of nearly 150 years, to provide federal-court assistance in gathering evidence for use in

foreign tribunals.” Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). By

this law, Congress intended that the United States set an example to other nations by making

judicial assistance generously available. See, e.g., In re Request for Assistance from Ministry of

Legal Affairs of Trin. & Tobago, 848 F.2d 1151, 1153-54 (11th Cir. 1988) (discussing several

historical instances in which Congress has broadened § 1782, each time increasing the statute’s

ability to provide international judicial assistance), abrogated on other grounds by Intel Corp.,

542 U.S. 241. District courts have repeatedly appointed Department of Justice Attorneys to act as

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commissioners pursuant to this provision for the purpose of rendering judicial assistance to

foreign courts. See, e.g., In re Clerici, 481 F.3d 1324, 1327 (11th Cir. 2007) (affirming a district

court’s appointment of an Assistant United States Attorney to obtain sworn answers to questions

posed in letters rogatory). See also In re Request for Judicial Assistance From the Nat'l Court of

Original Jurisdiction No. 68 in Buenos Aires, Argentina, No. 3:19-MC-31-J-39MCR, 2019 WL

5528394 (M.D. Fla. Oct. 25, 2019) (appointing Department of Justice Attorney commissioner to

obtain evidence from Merrill Lynch).

       This Court is authorized to provide assistance to the Swiss Court if the three requirements

set forth in § 1782 are met. Those requirements are: (1) the person from whom discovery is

sought resides or is found in the district; (2) the discovery is for use in a proceeding before a

foreign or international tribunal; and (3) the application is made “by a foreign or international

tribunal” or “any interested person.” In re Application Pursuant to 28 U.S.C. § 1782 for an

Order Permitting Bayer AG to Take Discovery, 146 F.3d 188, 193 (3d Cir. 1988); Schmitz v.

Bernstein Liebhard & Lifshitz, LLP, 376 F.3d 79, 83 (2d Cir. 2004). See also S. Rep. No. 88-

1580 at 2 (1964), reprinted in 1964 U.S.C.C.A.N. 3783 (providing Congress’ general statement

regarding the purpose behind the statute); Intel, 542 U.S. at 248-49 (providing a brief history of

Section 1782 and federal court aid to foreign tribunals).

       Here, each of these threshold statutory requirements is easily met. First, E*Trade “resides

or is found in” the District of New Jersey because the company’s subpoena processing center is

located in Jersey City, New Jersey. Likewise, UBS “resides or is found in” the District of New

Jersey because the company’s subpoena processing center is located in Weehawken, New

Jersey. 2 Second, the Letter of Request explains that the documents are “for use in a proceeding


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 When executing requests for financial records, the Office of International Judicial Assistance’s
policies and procedures require that the request be executed in the district where the subpoena
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before a foreign tribunal” as these bank records are needed for use in determining the division of

the parties’ assets and the amount of alimony owed. See Ossenova Decl., Ex. A. Third, the Letter

of Request itself reflects that it “is made by a foreign or international tribunal.” Id.

        III.    DISCRETIONARY CONSIDERATIONS WEIGH IN FAVOR OF
                GRANTING THE UNITED STATES’ APPLICATION

        “[A] district court is not required to grant a § 1782(a) discovery application simply

because it has the authority to do so.” See Intel, 542 U.S. at 264. Indeed, § 1782 “affords the

district courts ‘wide discretion’ in responding to requests for assistance in proceedings before

foreign tribunals.” Al Fayed v. United States, 210 F.3d 421, 424 (4th Cir. 2000) (quoting In re

Esses, 101 F.3d 873, 876 (2d. Cir. 1996)). The Supreme Court set forth certain discretionary

factors for a district court to consider before granting a request for judicial assistance:

        (1) whether the person from whom discovery is sought is a participant in the foreign
        proceeding; (2) the nature of the foreign tribunal, the character of the foreign
        proceedings, and the receptivity of the foreign entity to judicial assistance; (3) whether
        the request conceals an attempt to circumvent foreign proof-gathering restrictions or
        other policies of a foreign country or the United States; and (4) whether the requested
        information is unduly intrusive or burdensome.

Intel, 542 U.S. at 264-65. “In exercising its discretion under § 1782, the district court should be

guided by the statute’s ‘twin aims of providing efficient means of assistance to participants in

international litigation in our federal courts and encouraging foreign countries by example to

provide similar means of assistance to our courts.’” Al Fayed, 210 F.3d at 424 (quoting In re

Malev Hungarian Airlines, 964 F.2d 97, 100 (2d Cir. 1992)). See also United States v. Morris (In

re Letter of Request from Amtsgericht Ingolstadt, Fed. Republic of Ger.), 82 F.3d 590, 592 (4th

Cir. 1996) (“Plainly, the . . . statute envision[s] considerable cooperation with foreign courts’




processing center is located for the particular financial institution.
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requests for assistance and a general practice of reciprocity.”). Here again, each of these

discretionary factors weigh in favor of assisting the Swiss Court.

       With respect to the first factor, “although this factor was originally expressed as a

‘participant’ versus ‘nonparticipant’ analysis under the facts presented in Intel, the true question

at hand is whether the requested discovery is available to the foreign tribunal without the

assistance of this Court.” In re Request for Judicial Assistance from the Dist. Court in Svitavy,

Czech, 748 F. Supp. 2d 522, 526 (E.D. Va. 2010) [hereinafter In re Svitavy]. See also Intel, 542

U.S. at 264 (“[N]onparticipants in the foreign proceeding may be outside the foreign tribunal’s

jurisdictional reach; hence, their evidence, available in the United States, may be unobtainable

absent § 1782(a) aid.”). The witnesses are not party to the proceedings and are not subject to the

Swiss Court’s jurisdiction because they are located in New Jersey; thus, the first factor weighs in

favor of granting the motion.

       Second, there is nothing in the Letter of Request to suggest that this Court should decline

to grant the Application based on the nature of the Swiss Court or the character of the

proceedings. Additionally, this request was initiated by the Swiss Court and not by an

independent party; therefore, the Swiss Court is clearly receptive to the assistance of this Court.

Thus, the second factor weighs in favor of granting the motion. See In re Svitavy, 748 F. Supp.

2d at 527 (discussing a specific application of the second Intel factor).

       With respect to the third factor, because the requester is the Swiss Court, there is

sufficient assurance that the request for judicial assistance is not an attempt to circumvent Swiss

discovery rules or to thwart policies of either the United States or Switzerland. See In re Svitavy,

748 F. Supp. 2d at 529 (“[T]he fact that the request was initiated by the Svitavy Court itself,

rather than a private litigant, provides sufficient assurance that the request does not attempt to



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circumvent Czech discovery rules or Czech policy.”). While the records and information sought

by the Swiss Court are held by a United States financial institution, the Right to Financial

Privacy Act (“RFPA”), 12 U.S.C. § 3401 et seq., does not apply to this request under § 1782. See

Young v. U.S. Dept. of Justice, 882 F.2d 633, 638-39 (2d Cir. 1989) (finding RFPA did not apply

to Department of Justice attorney who was acting in capacity as a commissioner under § 1782);

In re Letter of Request for Judicial Assistance from Tribunal Civil de Port-Au-Prince, 669 F.

Supp. 403, 407 (S.D. Fla. 1987) (finding RFPA inapplicable to request pursuant to 28 U.S.C.

§ 1782). Therefore, the third Intel factor weighs in favor of granting the Swiss Court’s request

for judicial assistance.

        And with respect to the fourth factor, the request seeks specific information regarding

specific account numbers during a discrete period of time, and therefore would not be unduly

intrusive or burdensome. See, e.g., In re Svitavy, 748 F. Supp. 2d at 529 (holding that providing a

DNA by buccal swab is not unduly burdensome). See also In re Clerici, 481 F.3d at 1335

(holding that it was the witness’s burden to file a motion to limit discovery and, as he had not

done so, the Court was not going to address the scope of the request). Thus, the fourth factor also

weighs in favor of granting the request.

        In summary, consideration of the four discretionary factors set forth by the Supreme

Court in Intel favors authorizing judicial assistance to the Swiss Court.

                                           CONCLUSION

        Attached to the Declaration of Senior Trial Counsel Katerina Ossenova are the proposed

subpoenas that this office intends to serve (in substantially similar format) on the witnesses

should the Court grant the Application pursuant to 28 U.S.C. § 1782(a). See Ossenova Decl. Ex.

B-1 and B-2. We respectfully request that the Court order the witnesses to produce the



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documents directly to the U.S. Department of Justice, Civil Division, Office of Foreign

Litigation, Office of International Judicial Assistance (OIJA) for transmission to the Court of

First Instance in Geneva, Switzerland. 28 U.S.C. § 1782(a) (“The order may prescribe the

practice and procedure … for … producing the document...”).

        WHEREFORE, the United States respectfully requests that the Court issue an Order, in

the form attached to the Application, appointing Department of Justice Senior Trial Counsel

Katerina Ossenova Commissioner for the purpose of issuing the subpoenas to execute the request

for international judicial assistance.



Dated: June 6, 2022                            PHILIP R. SELLINGER
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